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                                       STATEMENT OF FACTS

        Your affiant, Erica Dobin, is a Special Agent with the Federal Bureau of Investigation (“FBI”)
and I am assigned to the New York Field Office’s Joint Terrorism Task Force (“JTTF”). I have been a
Special Agent since 2019 and was previously a member of the New York City Police Department. As a
Special Agent, I have participated in investigations related to domestic terrorism, international terrorism,
hate crimes, and sex trafficking. As a Special Agent, I am authorized by law or by a government agency
to engage in or supervise the prevention, detention, investigation, or prosecution of violations of Federal
criminal laws.

       The U.S. Capitol is secured twenty-four hours a day by Capitol Police. Restrictions around the
Capitol include permanent and temporary security barriers and posts manned by United States Capitol
Police (USCP). Only authorized people with appropriate identification were allowed access inside the
Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the Capitol, which
is located at First Street, SE, in Washington, D.C. During the joint session, elected members of the United
States House of Representatives and the United States Senate were meeting in separate chambers of the
Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which had
taken place on Tuesday, November 3, 2020. The Joint Session began at approximately 1:00 p.m. Shortly
thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve
a particular objection. Vice President Michael R. Pence was present and presiding, first in the joint session,
and then in the Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President Pence
present and presiding over the Senate, a large crowd gathered outside the Capitol. As noted above,
barricades—both temporary and permanent—were in place around the exterior of the Capitol, and USCP
were present and attempting to keep the crowd away from the Capitol and the proceedings underway
inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. Members of the USCP attempted to maintain
order and keep the crowd from entering the Capitol. Shortly after 2:00 p.m., however, individuals in the
crowd forced entry into the Capitol using unlawful methods that included breaking windows and
assaulting USCP officers. Others in the crowd encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the House of Representatives and the
Senate, including the President of the Senate, Vice President Pence, were instructed to and did evacuate
the chambers. Accordingly, the Joint Session of Congress was effectively suspended until shortly after
8:00 p.m. Vice President Pence remained in the Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

        During national news coverage of the attack on the Capitol, video footage which appeared to be
captured on mobile devices of persons present on the scene depicted violations of local and federal law,
including scores of individuals inside the Capitol without permission or authority. One such individual is
the defendant, Elliot RESNICK.



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    As set forth in detail below, I have identified RESNICK as an individual that entered the Capitol on
January 6, 2021, and committed the following criminal acts:

           18 U.S.C. § 231(a)(3): Obstructing, Impeding, or Interfering with Law Enforcement During a
            Civil Disorder;

           18 U.S.C. § 111(a): Assault of or Interference with Law Enforcement;

           18 U.S.C. §§ 1752(a)(1) and (2): Entering and Remaining on Restricted Grounds, and Disorderly
            and Disruptive Conduct in a Restricted Building or Grounds; and

           40 U.S.C. § 5104(e)(2)(D) and (G): Disorderly or Disruptive Conduct on Capitol Grounds or in
            any of the Capitol Buildings, and Parading, Picketing, or Demonstrating in Any of the Capitol
            Buildings

                                                         The Investigation

       Elliot RESNICK is a 39-year-old New York-resident. On January 6, 2021, RESNICK was
employed as the Chief Editor of The Jewish Press.1 Prior to his position as Chief Editor, RESNICK was
previously employed in various positions by The Jewish Press for approximately 14 years. RESNICK left
The Jewish Press, a news media organization in May 2021. The FBI has been investigating Elliot
RESNICK since approximately June 2021. The investigation began when the FBI received two tips from
members of the public regarding RESNICK’s activity on restricted Capitol Grounds and inside of the U.S.
Capitol on January 6, 2021. One tipster indicated they had known RESNICK since childhood and
recognized him in video footage showing the storming of the U.S. Capitol which had been posted online.
The tipster provided a link to a publicly available YouTube video.2

       A second tipster provided information to the FBI and stated RESNICK had entered the U.S.
Capitol Building on January 6, 2021. The second tipster identified a Facebook and Twitter page belonging
to RESNICK and provided a link to an article from Politico, published on April 8, 2021,3 which identified
RESNICK as being inside the U.S. Capitol based on video footage.

        I have personally reviewed a New York State Driver’s License Photograph for RESNICK,
photographs of RESNICK displayed on various social media pages and professional websites, and
personally conducted surveillance on RESNICK on three different occasions. I have reviewed video
footage from inside and around the U.S. Capitol on January 6, 2021.4 Based on all the images and videos
I have reviewed, I identify the individual who committed the alleged acts in and around the U.S. Capitol
on January 6, 2021, as Elliot RESNICK.


1
  The affiant is aware of and has complied with the U.S. Department of Justice’s News Media Policy in consultation and
coordination with DOJ’s Policy and Statutory Enforcement Unit. See AG Order No. 5524-2022; 28 C.F.R. § 50.10 (2022).
2
    https://www.youtube.com/watch?v=V-fkunG5J6k&t=659s
3
    https://www.politico.com/news/2021/04/08/identifying-capitol-january-6-479757
4
    See, ex., Images 1, 3, 4a, 10, 12, 17, 21, and 22.



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              Review of Selected Video Footage Showing RESNICK Inside the U.S. Capitol

        On April 12, 2021, a Twitter user posted a link along with various screenshots purporting to show
RESNICK. The link led to a YouTube video entitled “Eastside Capital Building 1/6/21.”5 The video shows
the East Plaza and the Central East Steps of the U.S. Capitol on January 6, 2021. Notably, the video shows
rioters breaking through the police line on the Central East Steps and the crowd advancing up the stairs.
As the crowd surges forward, towards the East Rotunda Doors, RESNICK is clearly visible moving with
the crowd and can be seen repeatedly gesturing for others to come up the stairs. RESNICK can be seen
wearing a black kippah (yarmulke), a black coat, and a lighter colored, long-sleeved shirt underneath.




Image 1—A screenshot from YouTube video “Eastside Capital Building 1/6/21” (fn. 4) showing RESNICK waving rioters forward.




Image 2—Screenshot from YouTube video “Eastside Capital Building 1/6/21” (fn. 4) showing RESNICK waving rioters forward.


5
    https://youtu.be/ZjLvYqJ2-EM?t=1141



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       A publicly available photograph6 shows RESNICK just south of the East Rotunda Doors on
January 6, 2021.




Image 3—A photograph taken by a Getty Images photographer that shows RESNICK and other rioters in front of the East Rotunda
Doors.

        I have interviewed Officer R. and Sgt. D., who are both are both members of the USCP who were
present in this area of the Capitol on January 6, 2021. During my interview of Sgt. D., he specifically
recalled telling RESNICK – in sum and substance – that he should “leave and go home” while RESNICK
and Sgt. D. were both outside of the Capitol in front of the East Rotunda Doors.

         I have reviewed videos showing the area just outside the East Rotunda Doors on January 6, 2021.
Two videos (“Parler Video” and “Archive.Org Video” 7) contain scenes from overlapping time periods
filmed from different vantage points. These two videos show RESNICK reaching up, grabbing, and
holding the arm of a USCP officer (“Sgt. D.”) who was at the time deploying a chemical irritant in an
effort to keep rioters from entering the U.S. Capitol. The videos show another USCP officer (“Officer R.”)
pushing down on RESNICK’s arm in an effort to remove his hand from Sgt. D.’s arm.




6
  https://www.gettyimages.com.br/detail/foto-jornal%C3%ADstica/demonstrators-clash-with-u-s-capitol-police-officers-foto-
jornal%C3%ADstica/1230455112
7
  https://archive.org/download/DitvdKNtPaTAtEGXo/Trump_Supporters_Gather_A.mpeg4 (beginning at approx. 8 min. 50
sec.)



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Images 4a, 4b, and 4c (left to right)—Screenshots from the Parler Video showing RESNICK standing just south of the East Rotunda
Doors; RESNICK reaching up towards the arm of a USCP officer who was attempting to spray rioters with a chemical irritant; and
RESNICK grabbing and holding the wrist of the same law enforcement officer.




Image 4d—A close-up of the screenshot from the Parler Video which shows the moment when RESNICK reached up and grabbed the
wrist of a USCP officer.




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Images 5 and 5a—A screenshot from the Archive.Org Video showing RESNICK grabbing the arm of a USCP officer; and (top right)
a close-up of that same screenshot.

        RESNICK entered the U.S. Capitol at approximately 2:26 p.m. on January 6, 2021, through the
East Rotunda Doors. I have reviewed imagery of RESNICK entering the U.S. Capitol from USCP CCV
and from open-source media.8 The footage shows RESNICK is among the first members of the crowd to
enter the U.S. Capitol through the East Rotunda Doors.
        As can be seen above, the East Rotunda Doors have two doors for entry or exit. The doors open to
the outside. When RESNICK entered, one door was open, and the other door was closed. In the open-
source video I reviewed, just after RESNICK entered, another rioter can be heard yelling for assistance to
open the other door. Almost immediately after entering the U.S. Capitol, RESNICK turned back to the
East Rotunda Doors and pushed on the second door, attempting to open it. At least one USCP Officer can
be seen attempting to keep the door closed from the outside. As RESNICK and others pushed on the closed
door, a different USCP Officer, Officer B., approached RESNICK and attempted to stop him from pushing
on the door. While doing so, Officer B. was thrown to the ground from behind by another rioter who has
since been arrested and charged.9




8
    https://youtu.be/V-fkunG5J6k?t=525
9
    https://www.justice.gov/usao-dc/defendants/dillard-kaleb



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Image 6—A screenshot from USCP CCV showing RESNICK just inside the Capitol’s East Rotunda Doors.




Image 7—A screenshot from USCP CCV showing RESNICK attempting to open the southern door of the East Rotunda Doors.




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Image 7a—A close-up of Image 7 (above) showing RESNICK (red circle) pushing to open the second door; USCP Officer B. (yellow
arrow) approaching RESNICK; and a USCP officer (blue arrow) attempting to hold the door closed from the outside.

         After RESNICK failed to push open the southern door of the East Rotunda Doors, which was
closed, he reached through the open northern door and, using his arms, began grabbing and pulling other
rioters into the U.S. Capitol.




Image 8—A close-up of a screenshot from USCP CCV showing RESNICK pulling another rioter into the U.S. Capitol.



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Images 9 and 9a—A screenshot from USCP CCV showing RESNICK standing inside the U.S. Capitol and reaching out through the
breached entryway to grab and pull another rioter inside; and (top right) a close-up of that same image.

       At approximately 2:29 p.m., RESNICK left the entryway just inside the East Rotunda Doors.
RESNICK moved west into the Grand Rotunda and then continued south towards the House Chamber. At
approximately 2:29 p.m., USCP CCV captured RESNICK moving south through Statuary Hall.10




10
     https://archive.org/details/nYiFQbNc65jwFYCWY (approx. timestamp: 19 min. 45 sec.).



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Image 10—A screenshot from a publicly available video that shows RESNICK in the second-floor hallway that leads to the House
Chamber.

     RESNICK turned back north, went back through Statuary Hall, and USCP CCV captures
RESNICK entering the Grand Rotunda again at approximately 2:30:28 p.m.




Image 11—A screenshot from USCP CCV showing RESNICK in the Grand Rotunda stepping over a velvet rope between stanchions.

         From there, RESNICK entered the Small Senate Rotunda, descended to the first floor via a
staircase commonly referred to as the Supreme Court Chamber Stairs, and at approximately 2:32:04 p.m.,
USCP CCV captured RESNICK entering the area between the Crypt and the annex to the Capitol Visitor
Center, which sits below the East Plaza. RESNICK then walked around the Crypt Annex and the Crypt
itself for several minutes before returning to the Annex and taking the escalator from the first floor down
to the basement and the Capitol Visitor Center (“CVC”) at approximately 2:38:05 p.m.




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Image 12—A screenshot from USCP CCV showing RESNICK in the Crypt Annex, a space between the Crypt and the stairs/escalators
that lead down to the Capitol Visitor Center.




Image 13—A screenshot from USCP CCV showing RESNICK descending into the underground CVC.

         At approximately 2:39:25 p.m., RESNICK returned to the Crypt. RESNICK then went to a door
that led out of the Capitol (the Law Library Door), and pushed on it. The door opened and RESNICK
looked outside. He then returned to the Crypt and went back down to the CVC. After descending into the
CVC a second time at approximately 2:41:48 p.m., RESNICK turned north and encountered a group of
rioters. He stayed with them for a few minutes and then returned upstairs to the Crypt at approximately
2:44:56 p.m.




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Image 14—A screenshot from USCP CCV showing RESNICK with a group of rioters in the CVC.

        At approximately 2:45:32 p.m., RESNICK took a staircase that led him from the Crypt Annex and
put him back in the entryway just inside the East Rotunda Doors. RESNICK then stood at threshold of the
East Rotunda Doors, both of which were now fully open, and gestured and beckoned rioters outside to
come inside. RESNICK reached across the threshold and ushered them inside the U.S. Capitol. RESNICK
repeated this process several times. RESNICK clapped others on the back as he successfully helped them
to enter.
        By this time, RESNICK had been in the Capitol for approximately twenty-three minutes. Some of
the rioters in his vicinity left through the East Rotunda Doors, even while others continued to try and force
their way inside.




Images 15 and 16—Close-ups of screenshots from USCP CCV showing RESNICK pulling rioters into the U.S. Capitol while at the
East Rotunda Doors.




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Image 17—A screenshot from an open-source video showing RESNICK standing at the threshold of the open East Rotunda Doors of
the Capitol and pulling other rioters inside.

       RESNICK again entered the Grand Rotunda. While inside, at approximately 2:52:24 p.m.,
RESNICK appeared to use a digital device in a manner consistent with taking a photograph or recording
a video.




Image 18—A screenshot from USCP CCV showing RESNICK with a digital device out in the Grand Rotunda.




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Images 18a—A close-up of the screenshot from USCP CCV showing RESNICK with a digital device out in the Grand Rotunda.

        He returned to the East Rotunda Doors foyer between approximately 2:54 p.m. and 2:58 p.m.,
reentered the Grand Rotunda from approximately 2:58 p.m. and 3:02 p.m., the foyer again for less than a
minute, and then back to the Grand Rotunda until approximately 3:10 p.m. RESNICK did not leave the
Grand Rotunda, even though USCP and Metropolitan Police Department (“MPD”) officers were making
a unified and concerted effort to clear the Rotunda for much of the time that he was there. RESNICK left
the Capitol through the East Rotunda Doors at approximately 3:14 p.m., having remained inside for
approximately fifty minutes.11




11
   https://archive.org/details/capital-hill-occupy-ovfr-18/Capital+Hill+Occupy+-ovfr18.mp4 (approx. timestamp: 17 min. 30
sec.).



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Image 19—A screenshot from USCP CCV showing RESNICK still in the Grand Rotunda, even though USCP and MPD had been
attempting to clear the Rotunda for several minutes.




Image 20—A screenshot from USCP CCV showing RESNICK embracing another rioter just north of the East Rotunda Doors at
approximately 3:11 p.m.




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Image 21—A screenshot from a publicly available source showing RESNICK as he leaves the Capitol at approximately 3:14 p.m.

        RESNICK left through the East Rotunda Doors on the east side of the Capitol at approximately
3:14 p.m. An MPD body worn camera captured RESNICK on the west side of the Capitol in the vicinity
of the Upper West Plaza at approximately 4:18 p.m.




Image 22—A screenshot from MPD BWC showing RESNICK with other rioters on restricted grounds on the Capitol’s west side at
approximately 4:18 p.m.




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                                                  Twitter

        On RESNICK’s website, there are links to some of RESNICK’s publicly available social media
accounts. One such account is his Twitter handle @ResnickElliot. As they pertain to RESNICK’s intent
to obstruct, impede, or influence any official proceeding; to attempt to do so; or to aid or abet another in
doing so, the following Tweets are relevant:

November 3, 2020, at 8:49 p.m. (the day of the 2020 Presidential Election):




       Vote and pray! (And starting tomorrow, let’s concentrate a great deal more on how to take back
       our culture [our elementary schools, our colleges, our media, and our entertainment industry] or
       create an alternative one. Whoever controls the youth controls the future.)

November 29, 2020, at 10:50 p.m.




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       When you’re prevented from watching as a half million votes are counted, it’s hard to have
       evidence. There probably isn’t much evidence that Stalin cheated to win elections either. That’s
       why there are supposed to be consequences when you flagrantly disobey election laws.


January 6, 2021, at 6:37 p.m.




       Twitter User:      I understand how frustrated and upset so many people are but we can’t do
                          what’s right if we’re fighting each other in the streets. We need to take a step
                          back, regroup and win back our nation. #TrumpRally

       RESNICK:           Please explain how you plan on making sure Democrats don’t cheat four years
                          from now.




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                                                           Parler

        RESNICK also appears to have an active “verified” social media presence on the website Parler
under the handle @ElliotRes. The profile indicates that RESNICK’s account was created on Parler
November 7, 2020. The earliest of RESNICK’s postings on Parler that is currently visible to me are dated
August 23, 2022. Some of RESNICK’s postings on Parler from late 2020 and early 2021 are available via
the Internet Archive Wayback Machine.12 The posts available on the Wayback Machine are from the same
@ElliotRes handle, which uses the same photograph seen in another one of RESNICK’s publicly available
profiles associated with his previous employment with a news media publication. Because the page was
archived on January 10, 2021, all dates of the postings are approximate. (ex. A posting that shows as “one
month ago” would have been posted in December 2020, approximately one month prior to January 10,
2021.) As they pertain to RESNICK’s intent to obstruct, impede, or influence any official proceeding; to
attempt to do so; or to aid or abet another in doing so, the following postings to Parler are relevant:

Approx. December 2020




           Everyone is supposed to admit that Biden won because... the mainstream news said so. Why
           exactly, in 2020, are we supposed to take NBC’s word over Giuliani’s word?




           Simple question: When a party flagrantly ignores election laws, is there supposed to be zero
           consequences for that? Are we supposed to just say: Sorry, it’s too late, all the illegal votes have
           already been counted?




12
     See https://web.archive.org/web/20210110201037/https://parler.com/profile/ElliotRes



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If the Democrats get away with their crimes, there’s nothing to stop them from cheating in future
elections. Why shouldn’t amoral operatives cheat if there are no consequences?




I’m not a legal expert ,but to me, it all boils down to this: Democrats violated election law in
numerous states (e.g., they barred Republican poll watchers from watching as half a million votes
were counted). And when you flagrantly break election laws, there should be consequences. If there
are zero consequences. what’s the point of having election laws and why shouldn’t everyone cheat
next time around too?




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                                                Cell Phone

        According to information provided to the FBI from a separately obtained search warrant, a
specific phone number ending with 2025 (“the 2025 number”) was identified as having utilized a cell
site consistent with providing service to a geographic area that included the interior of the United States
Capitol building on January 6, 2021.

      Based on commercial databases, the 2025 number is associated with RESNICK. Based on my
own investigative efforts, I believe this number was used by RESNICK on January 6, 2021.

        According to records provided to the FBI in January 2021 as part of a separate January 6-related
investigation, an individual known to the FBI (Individual 1) who was arrested on January 6-related
charges on January 18, 2021, had the 2025 number saved in his phone under the name “Elliot Resnick.”
Individual 1 texted RESNICK at approximately 2:30 a.m. on January 6, 2021.

       I also believe this number is RESNICK’s based on surveillance performed by myself and another
member of the FBI on August 11, 2022. While maintaining visual surveillance of RESNICK, I dialed
the 2025 number and observed RESNICK answer the phone and heard RESNICK speak through the
phone receiver and in person. Shortly afterwards, I witnessed RESNICK appear to use his phone to
make a call. At the same time, I received a call from the 2025 number on the phone number which I had
previously used to contact RESNICK.

                Probable Cause to Issue an Arrest Warrant for ELLIOT RESNICK

     Based on the foregoing, your affiant submits that there is probable cause to believe that ELLIOT
RESNICK violated:

      18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to obstruct,
       impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
       performance of his official duties incident to and during the commission of a civil disorder which
       in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
       article or commodity in commerce or the conduct or performance of any federally protected
       function. (“Civil disorder” means any public disturbance involving acts of violence by
       assemblages of three or more persons, which causes an immediate danger of or results in damage
       or injury to the property or person of any other individual. “Federally protected function” means
       any function, operation, or action carried out, under the laws of the United States, by any
       department, agency, or instrumentality of the United States or by an officer or employee thereof;
       and such term shall specifically include, but not be limited to, the collection and distribution of the
       United States mails.

      18 U.S.C. § 111(a), which makes it a crime to forcibly assault or interfere with any person
       designated in section 1114 of this title 18 while engaged in or on account of the performance of
       official duties. Persons designated within section 1114 include any person assisting an officer or
       employee of the United States in the performance of their official duties




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      18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to (1) knowingly enter or remain in any
       restricted building or grounds without lawful authority to do; (2) knowingly, and with intent to
       impede or disrupt the orderly conduct of Government business or official functions, engages in
       disorderly or disruptive conduct in, or within such proximity to, any restricted building or
       grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
       Government business or official functions; or attempts or conspires to do so. For purposes of 18
       U.S.C. § 1752, a “restricted building” includes a posted, cordoned off, or otherwise restricted
       area of a building or grounds where the President or other person protected by the Secret Service,
       including the Vice President, is or will be temporarily visiting; or any building or grounds so
       restricted in conjunction with an event designated as a special event of national significance.

      40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
       loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
       in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
       orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
       that building of a hearing before, or any deliberations of, a committee of Congress or either House
       of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                     Erica Dobin
                                                     Special Agent
                                                     Federal Bureau of Investigation


       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of March 2023.                          2023.03.14
                                                                     12:13:18
                                                                     -04'00'
                                                   ZIA M. FARUQUI
                                                   U.S. MAGISTRATE JUDGE




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